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                                                                                                                       April 6, 2018


                     Re:       FrontPoint Asian Event Driven Fund, L.P. v. Citibank, IV.A., No 16-cv-05263
                               (AKH) (S.D.N.Y.)

            Dear Judge Hellerstein:

                            We represent Credit Suisse Group AG, Credit Suisse AG, and Credit Suisse
            International and write on behalf of Defendantsl in response to Plaintiffs' March 27, 2018 letter
            (Dkt. 276) ("Pls.' Ltr."), submitting as supplemental authority in support of their personal
            jurisdiction (and merits) arguments Judge Schofield's recent decision in Nypl v. JPMorgan Chase &
            Co., 2018 WL 1472506 (S.D.N.Y. Mar. 22, 2018) ("Nypl"), a case relating to the alleged
            manipulation of certain foreign exchange ("FX") benchmark rates. Plaintiffs' reliance on Nypl is
            misplaced because it adds nothing new. In Nypl, Judge Schofield addresses jurisdictional arguments
            premised on the same allegations of FX manipulation and reaches the same conclusions as she
            reached in her earlier decision in In re Foreign Exchange Benchmark Rates Antitrust Litig., 2016
            WL 1268267 (S.D.N.Y. Mar. 31, 2016) ("FX'), which the parties briefed in connection with the
            previous motion to dismiss and which this Court has already found does not support personal
            jurisdiction here.2 Nypl, like FX before it, does nothing to change the conclusion that Plaintiffs'
            claims must be dismissed on personal jurisdiction and merits grounds.



            1 Unless otherwise specified, defined terms have the same meaning as in Defendants' Brief in Support of their Motion to
            Dismiss the Second Amended Complaint for Lack of Subject Matter Jurisdiction and Failure to State a Claim (Dkt. 243)
            ("Defs.' Merits Br.") and Foreign Defendants' Brief in Support of their Motion to Dismiss the Second Amended
            Complaint for Lack of Personal Jurisdiction and Venue (Dkt. 239) ("Defs.' PJ Br."). Only the Foreign Defendants join
            the portions of this letter addressing personal jurisdiction arguments. All Defendants join as to the merits argument.
            2Plaintiffs' Brief in Opposition to Defendants' Motion to Dismiss the First Amended Complaint for Lack of Personal
            Jurisdiction and Venue at 10, 16, 22, 24, 25, 29 (Dkt. 176); Foreign Defendants' Reply Brief in Support of Their Motion
            to Dismiss the First Amended Complaint for Lack of Personal Jurisdiction and Venue at 3 n.2, 5, 15 n.21, 18 n.23 (Dkt.
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                First, Nypl rejected the argument, which Plaintiffs also advance here, that a court can
 assert personal jurisdiction over Foreign Defendants that are merely foreign holding companies or
 otherwise do not operate in the United States. Nypl dismissed all claims against HSBC Holdings plc
 and The Royal Bank of Scotland Group plc, each a Foreign Defendant here, because they are
 "foreign parent holding companies, not banks or dealers in any foreign currency exchange market
 [who] . . . do not have operations in the United States" and plaintiffs failed to set forth any
 "allegations of suit-related conduct specific" to them. 2018 WL 1472506, at *6. Plaintiffs do not
 even attempt to address this holding, which only confirms the insufficiency of their assertion of
 personal jurisdiction over the Foreign Defendants that are holding companies or otherwise do not
 operate or trade SIBOR- or SOR-based derivatives in the United States.3 Plaintiffs here fail to allege
 that any of these Foreign Defendants, like those two holding company defendants in Nypl, had any
 relevant operations in or directed at the United States. Defs.' PJ Br. at 11 n.13; Defs.' PJ Reply Br.
 at 6 n.9. Nypl confirms that the claims against these Foreign Defendants must be dismissed.

                 Second, Nypl rejected the argument, similar to the one Plaintiffs make here, that
 defendants and their subsidiaries should be treated as "single economic units" for jurisdictional
 purposes because plaintiffs had not "provide[d] sufficient facts or argument in support of a veil-
 piercing or alter ego analysis." 2018 WL 1472506, at *7. Plaintiffs again do not even mention this
 holding, which applies with equal force to this case. Like the plaintiffs in Nypl, Plaintiffs here have
 failed to adequately allege any basis for attributing any affiliate's jurisdictional contacts to any
 Foreign Defendant. Defs.' PJ Br. at 10, 12, 19 n.27; Defs.' PJ Reply Br. at 5; see also FrontPoint
 Asian Event Driven Fund, L.P. v. Citibank, NA., 2017 WL 3600425, at *6 (S.D.N.Y. Aug. 18, 2017)
 ("SIBOR 1") ("[P]laintiffs may not refer to affiliated defendants by a conclusory collective name
 unless plaintiffs adequately allege that the conduct of one affiliate is attributable to another.").

                 Third, under the reasoning of Nypl, Plaintiffs' allegations that Foreign Defendants
 manipulated SIBOR and SOR outside the United States and traded SIBOR- and SOR-based
 instruments in the United States are insufficient to support a finding of specific jurisdiction. Even if
 Plaintiffs included sufficient facts in their complaint to support such allegations (and they do noto),
 under Charles Schwab Corp. v. Bank of America Corp., 883 F.3d 68 (2d Cir. Feb. 23, 2018)
 ("Schwab") and SIBOR 1, these allegations still fail to establish the requisite substantial connection
 between the alleged misconduct, Plaintiffs' claims, and the forum. The requisite substantial

 185); see also Foreign Defendants' Brief in Support of Their Motion to Dismiss the First Amended Complaint for Lack
 of Personal Jurisdiction and Venue at 9-11 (Dkt. 145).
  These Foreign Defendants are Barclays PLC, DBS Bank, DBS Holdings Ltd., The Hongkong and Shanghai Banking
 Corporation Limited, HSBC Holdings plc, The Royal Bank of Scotland Group plc, United Overseas Bank Limited,
 Credit Agricole SA, Credit Suisse Group AG, ING Groep N.V., Macquarie Group Ltd., Oversea-Chinese Banking
 Corporation Ltd., Standard Chartered PLC, and UBS Securities Japan Co. Ltd. See Defs.' PJ Br. at 11 n.13; Foreign
 Defendants' Reply Brief in Support of Their Motion to Dismiss the Second Amended Complaint for Lack of Personal
 Jurisdiction and Venue (Dkt. 253) at 6 n.9 ("Defs.' PJ Reply Br.").
   For example, as this court recognized in SIBOR 1, Plaintiffs do not even adequately allege that Foreign Defendants
 traded SIBOR- and SOR-based instruments in the forum. 2017 WL 3600425, at *6; see also Defs.' PJ Br. at 11-12;
 Defs.' PJ Reply Br. at 5-6.
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 connection is lacking because, among other reasons, Plaintiffs did not trade directly with any
 Foreign Defendants other than Deutsche Bank5 and their claims do not arise out of Foreign
 Defendants' supposed U.S.-based trading activities. Defs.' PJ Br. at 14-22; Defs.' PJ Reply Br. at 9-
 15; SIBOR I, 2017 WL 3600425, at *6-7; Defs.' Mar. 14, 2018 Ltr. at 3-5 (Dkt. 271).

                 Ignoring the ways in which Nypl supports Foreign Defendants' jurisdictional
 arguments, Plaintiffs mischaracterize Nypl 's specific jurisdiction rulings.6 Nypl, like FX, concluded
 that certain defendants were subject to specific jurisdiction because, unlike here, plaintiffs alleged
 that defendants' collusive conduct either occurred in or was specifically directed at the United
 States. Judge Schofield's decisions recognize that the process for determining FX benchmarks
 differs in critically important ways from foreign submission-based benchmarks like SIBOR and
 SOR. See, e.g., In re Foreign Exchange Benchmark Rates Antitrust Litig., 74 F. Supp. 3d 581, 596
 (S.D.N.Y. 2015) (distinguishing manipulation alleged in USD LIBOR and FX). Specifically, the
 pertinent FX benchmarks were allegedly set, at least in part, based on actual trades conducted in the
 United States. See FX, 2016 WL 1268267, at *5 ("Defendants executed concerted trading strategies
 designed to manipulate, and which actually did manipulate, the Fixes. . . . Each Defendant has
 continuously and systematically entered into FX transactions . . . in this District[.]"). By contrast,
 during the relevant time period, SIBOR and SOR were set through the submission of hypothetical
 borrowing rates outside the United States. See SIBOR I, 2017 WL 3600425, at *1; SAC TT 163-65;
 Defs.' Merits Br. at 3-5. As Judge Buchwald put it in In re LIBOR-Based Fin. Instruments Antitrust
 Litig., 2016 WL 1558504, at *7 (S.D.N.Y. Apr. 15, 2016):

          In [FX], defendants allegedly manipulated the WM/Reuters Closing Spot Rates, an
          important benchmark in the FX market, by discussing and engaging in coordinated
          trading strategies. Therefore, substantial FX business, including billions of dollars of
          FX transactions, in the United States provides a basis to find that defendants engaged
          in suit-related conduct here, because defendants accomplished their purported scheme
          by entering into FX transactions. Here, by contrast, defendants need not engage in
          any market transactions at all, much less in Eurodollar futures contracts, to affect the
          LIBOR fix, and we have already held that plaintiffs have failed to show that

 5As to Deutsche Bank, FrontPoint's purported transactions are inadequately alleged. Defs.' PJ Br. at 19 n.26; Defs.' PJ
 Reply Br. at 19-20.
   Plaintiffs grossly mischaracterize Nypl in multiple respects. In addition to their assertion that the manipulation alleged
 in Nypl occurred in London (Judge Schofield found it did not, as addressed below), Plaintiffs' contention that the Nypl
 Court upheld jurisdiction based on more "generalized jurisdictional allegations" than those made here is also wrong.
 Judge Schofield relied on plea agreements involving certain defendants that the Court deemed to have added "specificity
 and plausibility" to the plaintiffs' more generalized allegations. Nypl, 2018 WL 1472506, at *5 (quoting a plea
 agreement that states "business activities of the defendant and its co-conspirators in connection with the purchase and
 sale of the EUR/USD currency pair, were the subject of this conspiracy and were within the flow of, and substantially
 affected, interstate and U.S. import trade and commerce . . . [and the conspiracy] was carried out, in part, within the
 United States"). Plaintiffs have alleged nothing of that sort here. Plaintiffs' allegations, including each of the regulatory
 reports and settlements, do not indicate that any of the relevant misconduct took place in or was directed at the United
 States, and these allegations were already rejected as insufficient to support jurisdiction in SIBOR I. Defs.' PJ Br. at 15-
 16; Defs.' PJ Reply Br. at 13; SIBOR 1, 2017 WL 3600425, at *5.
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        defendants engaged in their purported suppression of LIBOR in order to benefit their
        Eurodollar trading position.

 (internai citations omitted). Under very similar reasoning, the Second Circuit in Schwab held that no
 personal jurisdiction existed over Foreign Defendants accused solely of manipulating foreign
 LIBOR submissions. See Defs.' Mar. 14, 2018 Ltr. at 3-5 (Dkt. 271). For the same reason, Nypl's
 specific jurisdiction rulings have no applicability to this case.

                Finally, notwithstanding that Nypl addresses only personal jurisdiction, Plaintiffs
 contend that the decision supports their claims of antitrust standing. Pls.' Ltr. at 3. Not only did
 Nypl say nothing about antitrust standing, but the Nypl defendants did not contest the injury-in-fact
 component of antitrust injury. Here, Defendants have raised that issue, and Plaintiffs have failed to
 plausibly allege injury-in-fact sufficient to establish antitrust standing. Defs.' Merits Br. at 20-22.
 And, contrary to Plaintiffs' suggestion, nothing in Nypl lends any support to Sonterra's spurious
 claim that USD SIBOR or SOR are linked to the FX forwards it allegedly traded. That in Nypl the
 prices of FX consumer retal! transactions were allegedly impacted by FX benchmark rates says
 nothing about whether the prices of the FX forwards that Sonterra alleges it purchased here were
 impacted by the alleged manipulation of two interest rate benchmarks, USD SIBOR and SOR.
 Indeed, Sonterra makes no non-conclusory allegations to support its contention that USD SIBOR or
 SOR were used to price its FX forwards — let alone that they were the "primary component."
 Nothing in Nypl can salvage Sonterra's claims.

                                                                  pectfully submi ted,



                                                               J.21 Kurtzber

 The Honorable Alvin K. Hellerstein
 United States District Judge
 Daniel Patrick Moynihan United States Courthouse
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 BY ECF

 cc:    Counsel of Record
